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                              IN THE UNITED STATES DISTRICT COURT

                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHUANQI LIU, an individual                      Case No.: 2-22cv 00367 CCW

              Plaintiff,
                                                MOTION TO WITHDRAW
vs.

FOUJOY,YBEKI, LINGMAI, SUNJOYCO,
FANCYES, AUCARKEE, DAWAY,
MONDAY, LAUS, SIHMQIK, NEUFLY,
ACCOT, SGODDE, NOVASHION,
EBIKELING, IPOW, NONBRAND, YQ&TL,
WUSUOWEI, GAODINGD and DAOZX
Individuals, Partnerships and Individuals,
Partnerships and Unincorporated Associations
as identified on Schedule A,

              Defendants.


                                        MOTION TO WITHDRAW



              Counsel for Plaintiff in the above entitled matter is seeking permission of

the Court to withdraw from representation and participation in this case and wishes to

have no further professional obligation, responsibility or duty to Plaintiff in this matter.

The reasons for withdrawal are that current counsel is no longer retained by Plainiff and

no longer receives communications from Plaintiff. Accordingly it would not be possible

for current counsel to correctly understand or represent the interests of the Plaintiff.

Plaintiff’s address is Suite 3001, Block 9, No. 1, Poly Bund, Xiaohuagpu Ronggui Town,

Shunde District, Foshan City, Guangdong Province, China.

Plaintiff has been provided notice of this action to withdraw, but has not indicated a

succeeding attorney. Counsel has successfully communicated with Plaintiff for
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this limited purpose and he has signed a letter permitting the withdrawl which

letter is filed along with the instant Motion to Withdraw.

Notice of this Motion will be provided to those parties registered with the case

through the Pacer CM/ECF filing system.

A pertinent (proposed) Order is provided for the Court.




Date February 8, 2023

                                                                /s/Patricia Ray

                                                         Patricia Ray, Attorney for Plaintiff

                                                         David & Raymond IP Law Firm
